Case 8:19-cv-02713-WFJ-AAS Document 1 Filed 10/31/19 Page 1 of 23 PageID 1




                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

 MILTON ROBLES and DAYRA
 RIVERA, individually and on behalf
 of all others similarly situated,

         Plaintiff,

 v.                                           CASE NO:

 LOWE’S COMPANIES, INC.,

       Defendant.
 __________________________________/

                                CLASS ACTION COMPLAINT

         Plaintiffs, Milton Robles (“Robles”) and Dayra Rivera (“Rivera”), collectively

 “Plaintiffs,” file this Class Action Complaint against Lowes Companies, Inc. (“Defendant”

 or “Lowes”), on behalf of themselves and all others similarly situated. In support thereof

 Plaintiffs state as follows:

                                    INTRODUCTION

         1.      Defendant violated the Employee Retirement Income Security Act of 1974

 (“ERISA”), as amended by the Consolidated Omnibus Budget Reconciliation Act of 1985

 (“COBRA”), by failing to provide Named Plaintiffs, Milton Robles and Dayra Rivera, and

 the putative class members they seek to represent, with a COBRA notice that complies

 with the law.

         2.      Despite having knowledge of and access to the Department of Labor’s

 Model COBRA form, Defendant chose not to use the model form— but only to the extent




                                             1
Case 8:19-cv-02713-WFJ-AAS Document 1 Filed 10/31/19 Page 2 of 23 PageID 2




 it served Defendant’s interests.

        3.      The Defendant COBRA notice process pushes beneficiaries and

 participants, like Plaintiffs here, toward the marketplace and away from enrolling in

 COBRA continuation coverage, presumably to save Defendant money. In fact, research

 shows that “…[the] average claim costs for COBRA beneficiaries exceeded the average

 claim for an active employee by 53%. The average annual health insurance cost per active

 employee was $7,190, and the COBRA cost was $10,988.14 The Spencer & Associates

 analysts contend that this indicates that the COBRA population is sicker than active-

 covered employees and that the 2% administrative fee allowed in the law is insufficient to

 offset the difference in actual claims costs.” Health Insurance Continuation Coverage

 Under COBRA, Congressional Research Service, Janet Kinzer, July 11, 2013. Thus,

 economics may push employers to push participants and beneficiaries away from electing

 COBRA coverage through the utilization of deficient COBRA forms.

        4.      Rather than including all information required by law in a single notice

 “written in a manner calculated to be understood by the average plan participant,”

 Defendant’s COBRA notification process instead provides only part of the legally

 required information in haphazard, piece-meal fashion in disjointed documents mailed

 under separate cover.

        5.      Unlike the Defendant notice, the Model DOL notice (attached hereto as

 Exhibit A) provides a nearly fool-proof way to elect COBRA coverage by providing in a

 single document all statutorily-required information plan participants need to enroll in

 COBRA coverage.




                                             2
Case 8:19-cv-02713-WFJ-AAS Document 1 Filed 10/31/19 Page 3 of 23 PageID 3




        6.      In sharp contrast, Defendant’s multi-part COBRA notification system is not

 foolproof, much less legally compliant. In fact, the Defendant COBRA notice is broken

 into two separate mailings which individually, and cumulatively, lack the information

 mandated by law.

        7.      More specifically, attached as Exhibit B is Defendant’s “COBRA

 Enrollment Notice.” This document violates 29 U.S.C. § 1166 because it is missing critical

 information mandated by 29 C.F.R. § 2590.606-4, as detailed herein. This document by

 itself should have contained all of the necessary information mandated by 29 C.F.R. §

 2590.606-4, and also on how to enroll in COBRA (evidenced by the name of its title). But,

 it simply does not.

        8.      To compound the confusion, upon information and belief, it is Defendant’s

 pattern and practice to send a second letter, containing information on COBRA.

        9.      Rather than utilizing the DOL Model Notice and sending a single COBRA

 notice “written in a manner calculated to be understood by the average plan participant”

 containing all required by law, Defendant instead opted to break the information into

 multiple documents, containing bits and pieces of information on COBRA.

        10.     In fact, the DOL Model Notice was designed to avoid precisely the issues

 caused by Defendant’s COBRA notification process.

        11.     As a result of receiving the COBRA enrollment notice, Plaintiffs could not

 make an informed decision about health insurance and lost health coverage.

        12.     Plaintiffs suffered a tangible injury in the form of economic loss,

 specifically the loss of insurance coverage and incurred medical bills, due to Defendant’s




                                             3
Case 8:19-cv-02713-WFJ-AAS Document 1 Filed 10/31/19 Page 4 of 23 PageID 4




 deficient COBRA election notice. In addition to a paycheck, health insurance is one of the

 most valuable things employees get in exchange for working for an employer like

 Defendant. Insurance coverage has a monetary value, the loss of which is a tangible and

 an economic injury.

           13.   And, not only did Plaintiffs lose their insurance coverage, after Plaintiff

 Dayra Rivera lost her insurance she incurred medical bills resulting in further economic

 injury.

           14.   Likewise, because Plaintiff Milton Robles lost his health insurance due to

 Defendant’s deficient COBRA notice, he endured sickness without receiving much-needed

 medical care because he had no health insurance to pay for treatment.

           15.   Defendant’s deficient COBRA notice also caused Plaintiffs an

 informational injury when Defendant failed to provide them with information to which

 they were entitled to by statute, namely a compliant COBRA election notice containing all

 information required by 29 C.F.R. § 2590.606-4(b)(4) and 29 U.S.C. § 1166(a). Through

 ERISA and then COBRA, Congress created a right—the right to receive the required

 COBRA election notice—and an injury—not receiving a proper election notice with

 information required by 29 C.F.R. § 2590.606-4(b)(4) and 29 U.S.C. § 1166(a). Defendant

 injured Plaintiffs and the class members they seek to represent by failing to provide all

 information in its notice required by COBRA.

                              JURISDICTION AND VENUE

           16.   This Court has jurisdiction over this action pursuant to 29 U.S.C. §

 1132(e) and (f), and also pursuant to 28 U.S.C. §§ 1331 and 1355.



                                              4
Case 8:19-cv-02713-WFJ-AAS Document 1 Filed 10/31/19 Page 5 of 23 PageID 5




        17.     Venue is proper in this District pursuant to 29 U.S.C. § 1132(e)(2).

 Additionally, ERISA § 502(e)(2) provides that venue is proper “where the plan is

 administered, where the breach took place, or where a defendant resides or may be

 found.” 29 U.S.C. § 1132(e)(2). Because the breach at issue took place in this District,

 venue is also proper.

                     SUPPORTING FACTS AND ALLEGATIONS

        18.     The COBRA amendments to ERISA included certain provisions relating to

 continuation of health coverage upon termination of employment or another “qualifying

 event” as defined by the statute.

        19.     Among other things, COBRA requires the plan sponsor of each group health

 plan normally employing more than 20 employees on a typical business day during the

 preceding year to provide “each qualified beneficiary who would lose coverage under the

 plan as a result of a qualifying event … to elect, within the election period, continuation

 coverage under the plan.” 29 U.S.C. § 1161.

        20.     Notice is of enormous importance. The COBRA notification requirements

 exist because employees are not expected to know instinctively of their right to continue

 their healthcare coverage. COBRA further requires the administrator of such a group

 health plan to provide notice to any qualified beneficiary of their continuation of coverage

 rights under COBRA upon the occurrence of a qualifying event. 29 U.S.C. § 1166(a)(4).

        21.     This notice must be “[i]n accordance with the regulations prescribed by the

 Secretary” of Labor. 29 U.S.C. § 1166(a).

        22.     The relevant regulations prescribed by the Secretary of Labor concerning



                                              5
Case 8:19-cv-02713-WFJ-AAS Document 1 Filed 10/31/19 Page 6 of 23 PageID 6




 notice of continuation of coverage rights are set forth in 29 C.F.R. § 2590.606-4 as follows:

            (4) The notice required by this paragraph (b) shall be written in a
            manner calculated to be understood by the average plan participant
            and shall contain the following information:
                    (i) The name of the plan under which continuation coverage
                    is available; and the name, address and telephone number of
                    the party responsible under the plan for the administration
                    of continuation coverage benefits;

                    (ii) Identification of the qualifying event;

                    (iii) Identification, by status or name, of the qualified
                    beneficiaries who are recognized by the plan as being
                    entitled to elect continuation coverage with respect to the
                    qualifying event, and the date on which coverage under the
                    plan will terminate (or has terminated) unless continuation
                    coverage is elected;

                    (iv) A statement that each individual who is a qualified
                    beneficiary with respect to the qualifying event has an
                    independent right to elect continuation coverage, that a
                    covered employee or a qualified beneficiary who is the
                    spouse of the covered employee (or was the spouse of the
                    covered employee on the day before the qualifying event
                    occurred) may elect continuation coverage on behalf of all
                    other qualified beneficiaries with respect to the qualifying
                    event, and that a parent or legal guardian may elect
                    continuation coverage on behalf of a minor child;

                    (v) An explanation of the plan's procedures for electing
                    continuation coverage, including an explanation of the time
                    period during which the election must be made, and the date
                    by which the election must be made;

                    (vi) An explanation of the consequences of failing to elect
                    or waiving continuation coverage, including an explanation
                    that a qualified beneficiary's decision whether to elect
                    continuation coverage will affect the future rights of
                    qualified beneficiaries to portability of group health
                    coverage, guaranteed access to individual health coverage,
                    and special enrollment under part 7 of title I of the Act, with
                    a reference to where a qualified beneficiary may obtain



                                               6
Case 8:19-cv-02713-WFJ-AAS Document 1 Filed 10/31/19 Page 7 of 23 PageID 7




                additional information about such rights; and a description
                of the plan's procedures for revoking a waiver of the right to
                continuation coverage before the date by which the election
                must be made;

                (vii) A description of the continuation coverage that will be
                made available under the plan, if elected, including the date
                on which such coverage will commence, either by providing
                a description of the coverage or by reference to the plan's
                summary plan description;

                (viii) An explanation of the maximum period for which
                continuation coverage will be available under the plan, if
                elected; an explanation of the continuation coverage
                termination date; and an explanation of any events that
                might cause continuation coverage to be terminated earlier
                than the end of the maximum period;

                (ix) A description of the circumstances (if any) under which
                the maximum period of continuation coverage may be
                extended due either to the occurrence of a second qualifying
                event or a determination by the Social Security
                Administration, under title II or XVI of the Social Security
                Act (42 U.S.C. 401 et seq. or 1381 et seq.) (SSA), that the
                qualified beneficiary is disabled, and the length of any such
                extension;

                (x) In the case of a notice that offers continuation coverage
                with a maximum duration of less than 36 months, a
                description of the plan's requirements regarding the
                responsibility of qualified beneficiaries to provide notice of
                a second qualifying event and notice of a disability
                determination under the SSA, along with a description of the
                plan's procedures for providing such notices, including the
                times within which such notices must be provided and the
                consequences of failing to provide such notices. The notice
                shall also explain the responsibility of qualified
                beneficiaries to provide notice that a disabled qualified
                beneficiary has subsequently been determined to no longer
                be disabled;

                (xi) A description of the amount, if any, that each qualified
                beneficiary will be required to pay for continuation
                coverage;


                                          7
Case 8:19-cv-02713-WFJ-AAS Document 1 Filed 10/31/19 Page 8 of 23 PageID 8




                    (xii) A description of the due dates for payments, the
                    qualified beneficiaries' right to pay on a monthly basis, the
                    grace periods for payment, the address to which payments
                    should be sent, and the consequences of delayed payment
                    and non-payment;

                    (xiii) An explanation of the importance of keeping the
                    administrator informed of the current addresses of all
                    participants or beneficiaries under the plan who are or may
                    become qualified beneficiaries; and

                    (xiv) A statement that the notice does not fully describe
                    continuation coverage or other rights under the plan, and
                    that more complete information regarding such rights is
                    available in the plan's summary plan description or from the
                    plan administrator.

        23.    To facilitate compliance with these notice obligations, the United States

 Department of Labor (“DOL”) issued a Model COBRA Continuation Coverage Election

 Notice (“Model Notice”), which is included in the Appendix to 29 C.F.R. § 2590.606-4.

        24.    A copy of the DOL’s Model Notice is attached hereto as Exhibit A.

        25.    In the event that an employer, like Defendant, declines to use the DOL Model

 Notice and fails to meet the notice requirements of 29 U.S.C. § 1166 and 29 C.F.R. §

 2590.606-4, it is subject to statutory penalties of up to $110 per participant or beneficiary

 per day from the date of such failure. 29 U.S.C. § 1132(c)(1). Additionally, the Court may

 order such other relief as it deems proper, including but not limited to injunctive relief

 pursuant to 29 U.S.C. § 1132(a)(3) and payment of attorneys’ fees and expenses pursuant

 to 29 U.S.C. § 1132(g)(1).

        26.    Defendant failed to use the Model Notice and failed to meet the notice

 requirements of 29 U.S.C. § 1166 and 29 C.F.R. § 2590.606-4 et seq., as set forth below.




                                              8
Case 8:19-cv-02713-WFJ-AAS Document 1 Filed 10/31/19 Page 9 of 23 PageID 9




      Defendant’s COBRA Notice Is Inadequate and Fails to Comply with the Law

        27.     Defendant partially adhered to the Model Notice provided by the Secretary

 of Labor, but only to the extent that served Defendant’s best interests, as critical parts are

 omitted or altered in violation of 29 C.F.R. § 2590.606-4.

        28.     Specifically, Exhibit B, which Defendant calls it “COBRA Enrollment

 Notice” violates:

        a.      29 C.F.R. § 2590.606–4(b)(4)(xii) because it fails to include an
                address indicating where COBRA payments should be mailed,
                a critical piece of information for any COBRA enrollment notice
        b.      29 C.F.R. § 2590.606-4(b)(4)(i) because it fails to identify the
                Plan Administrator, or its address and phone number, and also
                fails to identify the COBRA administrator, Alight Solutions;

        c.      29 C.F.R. § 2590.606-4(b)(4)(iv) because it fails to include a
                statement of that each individual who is a qualified beneficiary
                has an independent right to elect continuation coverage;

        d.      29 C.F.R. § 2590.606-4(b)(4)(v) notice itself never actually
                explains how to enroll in COBRA, nor does it bother including
                a physical election form (both of which the model Department
                of Labor form includes);
        e.      29 C.F.R. § 2590.606-4(b)(4)(vi) because it fails to provide all
                required explanatory information;

        f.      29 C.F.R. § 2590.606-4(b)(4)(vii) because it fails to name the plan
                for which continuation coverage will be available nor reference
                to the plan summary plan description;

        g.      29 C.F.R. § 2590.606-4(b)(4)(viii) because it fails to provide an
                explanation of any events that might cause continuation
                coverage to be terminated earlier than the end of the maximum
                period;

        h.      29 C.F.R. §2590.606-4(b)(4)(ix) because it fails to include a
                description of the circumstances under which the maximum
                period of continuation coverage may be extended;

        i.       29 C.F.R. § 2590.606-4(b)(4)(x) because it fails to include a


                                               9
Case 8:19-cv-02713-WFJ-AAS Document 1 Filed 10/31/19 Page 10 of 23 PageID 10




                   notice of the requirements regarding the responsibility of
                   qualified beneficiaries to provide notice of a second qualifying
                   event or disability determination under the SSA;

             j.    29 C.F.R. §2590.606-4(b)(4) because it fails to include an
                   explanation of the importance of keeping the administrator
                   informed of the current addresses of all participants or
                   beneficiaries under the plan; and, finally,

             k.    29 C.F.R. § 2590.606-4(b)(4) because Defendant has failed to
                   provide a notice written in a manner calculated to be understood
                   by the average plan participant.

             29.   In addition to Exhibit B, upon information and belief, Defendant sent to

   Plaintiffs and the putative class members a second letter containing information on

   COBRA styled “Important Information About Your COBRA Continuation Coverage”, that

   contains some – but not all – of the above information missing from its COBRA enrollment

   notice.

             30.   Defendant’s attempt to cure the above deficiencies from Exhibit B, with a

   follow up letter only further demonstrates that Defendant knew it was required to provide

   all of the required information to Plaintiff in accordance with 29 U.S.C. § 1166 and 29

   C.F.R. § 2590.606-4 et seq., but it simply chose not to do so, much less in the manner

   proscribed by the Model DOL COBRA notice. And while Defendant was not legally

   obligated to utilize the Model DOL COBRA notice, its decision to deviate from the DOL

   Model notice while also not providing all of the statutorily proscribed information makes

   it subject to liability in this lawsuit.

                                        Plaintiff Milton Robles

             31.   Named Plaintiff Milton Robles is a former long-time employee of

   Defendant and father of three children.


                                                  10
Case 8:19-cv-02713-WFJ-AAS Document 1 Filed 10/31/19 Page 11 of 23 PageID 11




             32.   He began working for Defendant on October 26, 209, until his abrupt

   termination on May 6, 2019, when he was fired missing work while taking care of his sick

   fifteen year-old daughter. Plaintiff Robles was not fired for gross misconduct.

             33.   Importantly, while Plaintiff Robles was a participant in Defendant’s

   insurance Plan, his wife and three young daughters (ages 2, 13, and 15 at the time) were

   also covered by part of the plan, making them Plan beneficiaries.

             34.   As a result of his termination on May 6, 2019, Plaintiff Robles experienced

   a qualifying event as defined by 29 U.S.C. § 1163(2).

             35.   Following this qualifying event, Defendant caused its COBRA

   Administrator, Alight Solutions, to mail Plaintiff Robles the deficient COBRA enrollment

   notice attached hereto as Exhibit B. Also, upon information and belief, Defendant mailed

   to Plaintiff its “Important Information About Your COBRA Continuation Coverage”,

   containing some – but not all – of the information missing from its COBRA enrollment

   notice.

             36.   The deficient COBRA notice that Plaintiff Robles received was violative of

   COBRA’s mandates for the reasons set forth herein.

             37.   Defendant has in place no administrative remedies Plaintiff Robles was

   required to exhaust prior to bringing suit.

             38.   Additionally, because no such administrative remedies exist, any attempt to

   exhaust the same would have been futile.




                                                 11
Case 8:19-cv-02713-WFJ-AAS Document 1 Filed 10/31/19 Page 12 of 23 PageID 12




          39.     Plaintiff Robles suffered a tangible injury in the form of economic loss,

   specifically the loss of insurance coverage and incurred medical bills, due to Defendant’s

   deficient COBRA election notice.

          40.     Additionally, after Plaintiff Robles lost his insurance he refrained from

   receiving medical treatment – despite having illness requiring treatment – because he lost

   his health insurance due to Defendant’s deficient COBRA notice.

          41.     Finally, Plaintiff Robles suffered an informational injury as a result of

   Defendant’s COBRA notice because he was never provided all information to which she

   was entitled by 29 C.F.R. § 2590.606-4(b).

                                     Plaintiff Dayra Rivera

          42.     Plaintiff Dayra Rivera worked for Defendant beginning in March 2018, and,

   during that time, was also a participant in Defendant’s health plan.

          43.     During Plaintiff’s employment with Defendant, she suffered an injury on

   the job and was unable to continue working. Importantly, she has not been terminated for

   gross misconduct.

          44.     Thus, when she was injured, Defendant cancelled her health plan benefits

   and Plaintiff experienced a qualifying event per 29 U.S.C. § 1163(2).

          45.     Following this qualifying event, Defendant caused its COBRA

   Administrator, Alight Solutions, to mail Plaintiff the deficient COBRA enrollment notice

   attached hereto as Exhibit B. Also, upon information and belief, Defendant mailed to

   Plaintiff the attached “Important Information About Your COBRA Continuation

   Coverage”, containing some – but not all – of the information missing from its COBRA




                                                12
Case 8:19-cv-02713-WFJ-AAS Document 1 Filed 10/31/19 Page 13 of 23 PageID 13




   enrollment notice.

          46.     The deficient COBRA notice that Plaintiff received was violative of

   COBRA’s mandates for the reasons set forth herein.

          47.     Defendant has in place no administrative remedies Plaintiff were required

   to exhaust prior to bringing suit.

          48.     Additionally, because no such administrative remedies exist, any attempt to

   exhaust the same would have been futile.

          49.     Plaintiff Dayra Rivera suffered a tangible injury in the form of economic

   loss, specifically the loss of insurance coverage and incurred medical bills, due to

   Defendant’s deficient COBRA election notice.

          50.     Additionally, after Plaintiff Dayra Rivera lost her insurance she incurred

   medical bills resulting in further economic injury.

          51.     Finally, Plaintiff Dayra Rivera suffered an informational injury as a result

   of Defendant’s COBRA notice because she was never provided all information to which

   she was entitled by 29 C.F.R. § 2590.606-4(b).

                   Violation of 29 C.F.R. 29 C.F.R. § 2590.606-4(b)(4)(v) –
                          Failure to explain how to enroll in COBRA

          52.     The governing statute clearly requires that “[t]he notice … shall be written

   in a manner calculated to be understood by the average plan participant and shall contain

   the following information:…(v) [a]n explanation of the plan's procedures for electing

   continuation coverage, including an explanation of the time period during which the

   election must be made, and the date by which the election must be made.” 29 C.F.R. §




                                               13
Case 8:19-cv-02713-WFJ-AAS Document 1 Filed 10/31/19 Page 14 of 23 PageID 14




   2590.606-4(b)(4)(v).

          53.     As a threshold matter, Defendant’s COBRA enrollment notice, Exhibit B,

   fails to adequately explain the procedures for electing coverage.

          54.     Instead, Defendant’s COBRA enrollment notice merely directs plan

   participants to a general phone number, and website, rather than explaining how to actually

   enroll in COBRA. To further compound the confusion, the Defendant COBRA enrollment

   notice contains no instructions on how to actually enroll if one calls the phone number, or

   visits the website. The telephone number provided by Defendant in its COBRA enrollment

   notice is a “catch-all” number individuals can call with questions about anything benefit-

   related, including retirement funds, etc., as is the website.

          55.     This “catch-all” number is actually a phone number to its COBRA

   Administrator, Alight Solutions, LLC, (an entity never identified in the COBRA notice),

   which also operates the website link.

          56.     A “catch-all” number provided by Defendant and then routed to a third-

   party call center designed to answer anything HR-related simply cannot meet the strict

   informational statutory requirements of 29 C.F.R. § 2590.606-4(b)(4)(v) required of all

   COBRA notices as to enrollment. The same is true as to the generic website link provided.

   Merely directing individuals to a website link and assuming he/she will be able to figure

   out how to enroll in COBRA once the website is visited simply is very different than

   actually explaining how to enroll in COBRA. This is particularly true when an employer

   fails to identify in its COBRA notice the third-party as its COBRA Administrator, which

   is precisely what Defendant’s notices fails to do here by omitting any mention of Alight




                                                 14
Case 8:19-cv-02713-WFJ-AAS Document 1 Filed 10/31/19 Page 15 of 23 PageID 15




   Solutions, LLC as its COBRA administrator. Nor is the Plan Administrator identified.

          57.     Unlike the Defendant COBRA notice, the Model DOL notice provides a

   near fool-proof way to elect COBRA coverage by providing a physical election form to

   mail in, the date it is due, the name and address to where election forms should be sent,

   spaces for the names, social security numbers, and type of coverage elected by each plan

   participant or beneficiary. (Exhibit A, p. 7).

          58.     Defendant’s COBRA enrollment notice simply does not contain “an

   explanation of the plan’s procedures for electing continuation coverage, including an

   explanation of the time period during which the election must be made, and the date by

   which the election must be made” as required by 29 C.F.R. § 2590.606-4(b)(4)(v). Merely

   telling Plaintiffs and the putative class members to call a generic 1-800 number operated

   by a third-party (actually the COBRA Administrator Defendant fails to bother identifying)

   and hope they are able to figure out how to enroll after they call is not what is legally

   required in a COBRA notice. Instead, the notice itself must contain information on how to

   enroll, or allow them to enroll via an enrollment form (like the Model notice does).

   Defendant’s simply does not.

                     Violation of 29 C.F.R. § 2590.606-4(b)(4)(xii) –
             Failure to provide the address to which payments should be sent

          59.     Defendant is specifically required to include in its notice the address to

   which payments should be sent. 29 C.F.R. § 2590.606-4(b)(4)(xii).

          60.     Exhibit B, the COBRA enrollment notice, fails to actually state where

   payments are to be sent. This is a per se violation of 29 C.F.R. § 2590.606-4(b)(4)(xii),

   which on its face requires all COBRA notices include “the address to which payments


                                                15
Case 8:19-cv-02713-WFJ-AAS Document 1 Filed 10/31/19 Page 16 of 23 PageID 16




   should be sent.”

          61.     Defendant’s attempt to cure this deficiency by providing a mailing

   address for payment a second letter only demonstrates that Defendant knows this

   information must be disclosed, but it failed to do so in the actual COBRA notice

   (Exhibit B). Defendant’s piecemeal strategy for separating COBRA information does

   not comport with the law. Rather, as demonstrated by the Model DOL COBRA notice,

   which is a single cohesive document, 29 C.F.R. § 2590.606-4(b)(4)(xii) contemplates

   providing the statutorily required information in “a” COBRA notice (singular) rather

   than in multiple documents which must be read in conjunction with one another for

   plan participants/beneficiaries to glean the necessary information from.

          62.     A misrepresentation is material if there is a substantial likelihood that it

   would mislead a reasonable employee in making an adequately informed decision.

   Without knowing where to send payment, Plaintiff was misled as to how to enroll in

   COBRA.

          63.     Because of the foregoing deficiencies, Defendant’s COBRA notice is

   legally insufficient. Defendant has misled Plaintiff and the putative class members

   identified herein about the material parameters and procedures surrounding their right

   to elect Cobra coverage, failing to comply with the requirements made clear by the

   Code of Federal Regulations.

                        Violation of 29 C.F.R. § 2590.606-4(b)(4)(i) –
                      Failure to Identify COBRA and Plan Administrator

          64.     Plaintiffs were unable -- based on either Notice -- to ascertain the party

   responsible under the plan for the administration of continuation coverage benefits.


                                                16
Case 8:19-cv-02713-WFJ-AAS Document 1 Filed 10/31/19 Page 17 of 23 PageID 17




   More specifically, Defendant failed to identify either the Plan Administrator, or even

   the COBRA Administrator of the Plan, Alight Solutions, in its COBRA notice.

          65.     Defendant was required to provide “in a manner calculated to be

   understood by the average plan participant ... the name, address and telephone number

   of the party responsible under the plan for administration of continuation coverage

   benefits.” 29 C.F.R. § 2590.606- 4(b)(4)(i). Defendant’s COBRA Notice, Exhibit B,

   fails to comply with this straightforward requirement. Neither the Plan Administrator,

   nor the Plan’s COBRA Administrator, Alight Solutions, are provided.

          66.     Defendant’s omission of the COBRA administrator’s name, Alight

   Solutions, does not satisfy the election notice requirements of section 2590.606-

   4(b)(4)(i). Referring Plaintiff and the putative class members to a generic anonymous

   “Access HR Benefits Center” is not what section 2590.606-4(b)(4)(i) mandates,

   especially when an entity, like Alight Solutions, is delegated responsibility for COBRA

   administration.

          67.     Likewise, Defendant’s notice omits any reference to the Plan

   Administrator’s name, address, and telephone number, as required by 29 C.F.R.

   2590.606-4(b)(4)(i). Without the plan administrator’s name, address, and telephone

   number, Defendant’s notice is not sufficient to permit Plaintiff and the putative class

   members to make an informed decision whether to elect coverage.

   Violation of 29 C.F.R. § 2590.606-4(b)(4) – Failure to Provide COBRA Notice Written
       in a Manner Calculated “To Be Understood By the Average Plan Participant”

          68.     By failing to adequately explain the procedures for electing coverage, as

   required by 29 C.F.R. § 2590.606-4(b)(4)(v), coupled with the complete omission of how


                                               17
Case 8:19-cv-02713-WFJ-AAS Document 1 Filed 10/31/19 Page 18 of 23 PageID 18




   to actually enroll in COBRA, where to send payment, failure to include all required

   explanatory information, and even who the Plan Administrator and/or the COBRA

   Administrator is/was, Defendant cumulatively violated 29 C.F.R. § 2590.606- 4(b)(4).

          69.      This particular section mandates that employers, like Defendant, must

   provide a notice of continuation coverage written in a manner calculated “to be understood

   by the average plan participant.”

          70.      Without the aforementioned critical pieces of, Defendant’s COBRA notice

   cannot be said to be written in a manner calculated “to be understood by the average plan

   participant.” Thus, Defendant violated 29 C.F.R. § 2590.606-4(b)(4)(v).

                               CLASS ACTION ALLEGATIONS

          71.      Plaintiffs brings this action as a class action pursuant to the Federal Rules

   of Civil Procedure on behalf of the following persons:

                All participants and beneficiaries in the Defendant’s Health
                Plan who were sent a COBRA notice by Defendant that did not
                comply with 29 C.F.R. § 2590.606-4(b) as a result of a qualifying
                event, as determined by Defendant’s records, who did not elect
                COBRA during the applicable statute of limitations period.

          72.      No administrative remedies exist as a prerequisite to Plaintiffs’ claims on

   behalf of the Putative Class. As such, any efforts related to exhausting such non-existent

   remedies would be futile.

          73.      Numerosity: The Class is so numerous that joinder of all Class members is

   impracticable. On information and belief, hundreds or thousands of individuals satisfy the

   definition of the Class. Thus, it is more than reasonable to assume the class is so numerous

   that joinder of all class members is impracticable.



                                                 18
Case 8:19-cv-02713-WFJ-AAS Document 1 Filed 10/31/19 Page 19 of 23 PageID 19




          74.      Typicality: Plaintiffs’ claims are typical of the Class. The COBRA notices

   Defendant sent to Plaintiff were form notices uniformly provided to all Class members. As

   such, the COBRA notices that Plaintiff received were typical of the COBRA notices that

   other Class Members received, and suffered from the same deficiencies.

          75.      Adequacy: Plaintiffs will fairly and adequately protect the interests of the

   Class members, he has no interests antagonistic to the class, and retained counsel

   experienced in complex class action litigation.

          76.      Commonality: Common questions of law and fact exist as to all

   members of the Class and predominate over any questions solely affecting individual

   members of the Class, including but not limited to:

                a. Whether the Plan is a group health plan within the meaning of 29

                   U.S.C. § 1167(1).

                b. Whether     Defendant’s     COBRA     notice   complied    with   the

                   requirements of 29 U.S.C. § 1166(a) and 29 C.F.R. § 2590.606-4;

                c. Whether statutory penalties should be imposed against Defendant

                   under 29 U.S.C. § 1132(c)(1) for failing to comply with COBRA

                   notice requirements and, if so, in what amount;

                d. The appropriateness and proper form of any injunctive relief or other

                   equitable relief pursuant to 29 U.S.C. § 1132(a)(3); and

                e. Whether (and the extent to which) other relief should be granted based

                   on Defendant’s failure to comply with COBRA notice requirements.




                                                  19
Case 8:19-cv-02713-WFJ-AAS Document 1 Filed 10/31/19 Page 20 of 23 PageID 20




          77.     Class Members do not have an interest in pursuing separate individual

   actions against Defendant, as the amount of each Class Member’s individual claims is

   relatively small compared to the expense and burden of individual prosecution. Class

   certification also will obviate the need for unduly duplicative litigation that might result in

   inconsistent judgments concerning Defendant’s practices and the adequacy of its COBRA

   notice. Moreover, management of this action as a class action will not present any likely

   difficulties. In the interests of justice and judicial efficiency, it would be desirable to

   concentrate the litigation of all Class Members’ claims in a single action.

          78.     Plaintiffs intends to send notice to all Class Members to the extent required

   the Federal Rules of Civil Procedure. The names and addresses of the Class Members are

   available from Defendant’s records, as well as from Defendant’s COBRA administrator,

   Alight Solutions.

                               CLASS CLAIM I FOR RELIEF
                 Violation of 29 U.S.C. § 1166(a) and 29 C.F.R. § 2590.606-4

          79.     The Plan is a group health plan within the meaning of 29 U.S.C. § 1167(1).

          80.     Defendant is the sponsor and administrator of the Plan, and was subject to

   the continuation of coverage and notice requirements of COBRA.

          81.     Plaintiffs and the other members of the Class experienced a “qualifying

   event” as defined by 29 U.S.C. § 1163, and Defendant was aware that they had experienced

   such a qualifying event.

          82.     On account of such qualifying event, Defendant sent Plaintiffs and the Class

   Members a COBRA notice in the form attached hereto as Exhibit B.

          83.     The COBRA notices that Defendant sent to Plaintiff and other Class


                                                 20
Case 8:19-cv-02713-WFJ-AAS Document 1 Filed 10/31/19 Page 21 of 23 PageID 21




   Members violated 29 U.S.C. § 1166(a) and 29 C.F.R. § 2590.606-4 for the reasons set forth

   above.

            84.    These violations were material and willful.

            85.    Defendant knew that its notice was inconsistent with the Secretary of

   Labor’s Model Notice and failed to comply with 29 U.S.C. § 1166(a) and 29 C.F.R. §

   2590.606-4, but chose to use a non-compliant notice in deliberate or reckless disregard of

   the rights of Plaintiffs and other Class Members.

            86.    Defendant ran a risk of violating the law substantially greater than the risk

   associated with a reading that was merely careless.

            87.    Defendant knew or had reason to know that its conduct was inconsistent

   with the law and regulations at issue, evidenced by the fact that it was aware of but choose

   not to use the DOL Model Notice.

                                    PRAYER FOR RELIEF

            WHEREFORE, Plaintiffs, individually and on behalf of the Class, prays for relief

   as follows:

            a.     Designating Plaintiffs’ counsel as counsel for the Class;

            b.     Issuing proper notice to the Class at Defendant’s expense;

            c.     Declaring that the COBRA notice sent by Defendant to Plaintiffs and

   other Class Members violated 29 U.S.C. § 1166(a) and 29 C.F.R. § 2590.606-4;

            d.     Awarding appropriate equitable relief pursuant to 29 U.S.C. §

   1132(a)(3), including but not limited to an order enjoining Defendant from continuing

   to use its defective COBRA notice and requiring Defendant to send corrective notices;



                                                21
Case 8:19-cv-02713-WFJ-AAS Document 1 Filed 10/31/19 Page 22 of 23 PageID 22




          e.     Awarding statutory penalties to the Class pursuant to 29 U.S.C. §

   1132(c)(1) and 29 C.F.R. § 2575.502c-1 in the amount of $110 per day for each Class

   Member sent a defective COBRA notice by Defendant;

          f.     Awarding attorneys’ fees, costs and expenses to Plaintiffs’ counsel as

   provided by 29 U.S.C. § 1132(g)(1) and other applicable law; and

          g.     Granting such other and further relief, in law or equity, as this Court

   deems appropriate.


          Dated this 31st day of October, 2019.

                                                  Respectfully submitted,

                                                  /s/Brandon J. Hill
                                                  LUIS A. CABASSA
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                                              22
Case 8:19-cv-02713-WFJ-AAS Document 1 Filed 10/31/19 Page 23 of 23 PageID 23




                                 CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on this 31st day of October, 2019, I electronically filed

   the foregoing with the Clerk of the Court by using the CM/ECF system which will send a

   notice of the electronic filing to all counsel of record.


                                                   /s/Brandon J. Hill
                                                   BRANDON J. HILL




                                                 23
